Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 1 of 8 PagelD #: 21

2111-CC01008

IN THE CIRCUIT COURT OF ST. CHARLES COUNTY

NICHOLAS EDISON,

AND

JESSICA EDISON,
Plaintiffs,

v.

HOME DEPOT, USA, INC.

Serve at:

Registered Agent

CSC-LAWYERS

INCORPORATING SERVICE

COMPANY

221 BOLIVAR ST

JEFFERSON CITY, MO

65101

AND

JOHN DOE,

Hold Service

Defendants.

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STATE OF MISSOURI

Cause No::

Division No.:

JURY TRIAL DEMANDED

PETITION

COME NOW Plaintiff Nicholas and Jessica Edison, and for their Petition against

Defendants, state as follows.

PARTIES AND JURISDICTION

1. Plaintiff Nicholas Edison is a resident of Warren County, State of Missouri, and is

legally married to Plaintiff Jessica Edison.

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 2 of 8 PagelD #: 22

2. Plaintiff Jessica Edison is a resident of Warren County, State of Missouri, and is

legally married to Plaintiff Nicholas Edison.

2: Upon information and belief, Defendant John Doe is a resident of Missouri.
4. Defendant Home Depot USA, Inc. is and was a foreign corporation, registered
and

existing under the laws of the State of Missouri.

3% Venue is proper in St. Charles County, State of Missouri, as the incident occurred
in Wentzville, MO.
6. Jurisdiction is proper in this Court, as Plaintiffs’ damages exceed $25,000.00.

COMMON FACTUAL ALLEGATIONS
7. Plaintiffs do hereby incorporate by reference each and every allegation contained
in Paragraphs 1-6, as if fully set forth herein.
8. On April 20, 2020, Plaintiffs were customers at the Home Depot store located in
Wentzville, MO.
9. Plaintiffs picked out some landscaping bricks while at Home Depot, which were
going to be loaded onto their truck by one of Home Depot’s forklift operators.

10. John Doe, an employee of Home Depot, indicated he would assist Plaintiffs in

loading the landscaping bricks into their truck, using a forklift.

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 3 of 8 PagelD #: 23

11. Plaintiff Nicholas Edison agreed to be John Doe’s spotter while he operated the

forklift, since John Doe claimed no other Home Depot employees available at the time to act as

John Doe’s spotter.

12. John Doe began to lift the pallet of landscaping bricks into Plaintiffs’ vehicle with
the forklift.

13. As John Doe moved the forklift towards Plaintiffs’ truck, he began to smash the

camper shell which was on Plaintiffs’ truck bed, with the tines of the forklift as well as the

palette the forklift was holding.
14. Plaintiff Nicholas Edison shouted for John Doe to stop, and instructed him to back

up the forklift, so they could straighten it out before trying again to load the palette onto the

truck.
15. After John Doe had backed the forklift away from the Plaintiff's truck, Plaintiff

Nicholas Edison told John Doe to “wait a minute” while he removed something from the truck
bed which had been disturbed when John Doe had initially attempted to unload the pallet of

landscaping bricks onto the truck.

16. As Plaintiff Nicholas Edison’s body was stretched into the truck bed, John Doe
moved the forklift forward, crushing Plaintiff Nicholas Edison’s body against the truck bed and

the palette, pinning him in place.

17. Plaintiff Nicholas Edison reported the incident and his injuries to Defendant

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 4 of 8 PagelD #: 24

Home Depot that same day.

18. Several weeks after the April 20, 2020 incident, Plaintiffs were at the same Home
Depot store.

19. Plaintiffs witnessed Defendant John Doe operating the same forklift, driving it
down the aisle in which they were shopping.

20. Defendant John Doe was operating the forklift with what appeared to be two (2)
Home Depot employees acting as spotters.

21, As Defendant John Doe drove the forklift down the aisle, he continued in the path

of Plaintiffs, and got so close to Plaintiff Jessica Edison with the tines of the forklift, Plaintiff

Nicholas Edison had to forcefully push her out of the way to prevent her from getting struck.
22. Plaintiffs informed Home Depot of the second incident, and were told by a
manager that Defendant John Doe would not be permitted to operate a forklift in the future.
23. Asaresult of Home Depot and John Doe’s negligence, Plaintiff Nicholas Edison
has suffered severe, debilitating injuries.

24.  Asaresult of Plaintiff Nicholas Edison’s injuries, Plaintiff Jessica Edison was
made to suffer a loss of consortium with her husband and emotional distress as a result of

Defendants’ actions.

COUNT I-NEGLIGENT TRAINING

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 5 of 8 PagelD #: 25

25. Plaintiffs do hereby incorporate by reference all allegations contained in
Paragraphs 1-23, as if fully set forth herein.

26. Defendant Home Depot owed a duty to Plaintiffs to exercise reasonable care in
training its employee, specifically Defendant John Doe.

27. Defendant Home Depot breached that duty when it failed to provide proper
training to Defendant John Doe in the operation of a forklift.

28. Defendant Home Depot further breached that duty by failing to ensure
Defendant John Doe had proper forklift operator certification before allowing him to operate the
forklift at the store.

29. | Defendant Home Depot’s breach proximately caused the Plaintiffs’ injuries in
that its failure to properly train Defendant John Doe resulted in the negligent operation of a
forklift, causing Plaintiff Nicholas Edison to be pinned between his truck bed and the
forklift/palette.

30. Asa direct result of Defendant Home Depot’s breach, Plaintiff Nicholas Edison
was made to suffer injuries, as follows:

a) Injury to his lower back, which resulted in damaging the hardware
placed in Plaintiff’s lower back from a prior surgery, thereby causing Plaintiff Nicholas Edison
to have to undergo an additional surgery, injections, and physical therapy;

b)Injury to his right shoulder, which required two surgeries to repair, and
physical therapy;

C) Crush injury to his chest wall;

d) Lost wages;

e) Loss of enjoyment of life;
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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 6 of 8 PagelD #: 26

f) Pain and suffering.
31. As a direct result of Defendant Home Depot’s breach, Plaintiff Jessica Edison
was made to suffer injuries, as follows:
a) Extreme stress and anxiety requiring medical treatment;
b) Loss of consortium with her husband, Plaintiff Nicholas Edison.
WHEREFORE, Plaintiffs seek judgment against Defendant Home Depot on Count I of
their Petition, for their costs, and for such further relief as the Court deems just and necessary
under the facts and circumstance of this cause.
COUNT II-NEGLIGENCE AGAINST DEFENDANTS
32. Plaintiffs do hereby incorporate each and every allegation contained in Paragraphs
1-31, as if fully set forth herein.
33. At all times relevant hereto, Defendant John Doe, was acting in the scope and
course of his employment with Defendant Home Depot.
34. Defendants had a duty to exercise the highest degree of care when operating the
forklift, particularly when it was being operated in the vicinity of customers, such as Plaintiffs.
35. Defendants breached their duty by failing to operate the forklift in a safe manner,
failing to keep a proper lookout for customers, including Plaintiffs, and by striking Plaintiff Nick
Edison with the forklift.
36.  Asadirect result of Defendant Home Depot and John Doe’s breach, Plaintiff
Nicholas Edison was made to suffer injuries, as follows:

a) Injury to his lower back, which resulted in damaging the hardware

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 7 of 8 PagelD #: 27

b)

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inserted in Plaintiffs lower back from a prior surgery, thereby causing
Plaintiff Nicholas Edison to have to undergo an additional surgery,
injections, and physical therapy;

Injury to his right shoulder, which required two surgeries to repair, and
physical therapy;

Crush injury to his chest wall;

Lost wages;

Loss of enjoyment of life;

Mental anguish; and

Pain and suffering.

37.  Asadirect result of Defendant Home Depot and John Doe’s breach, Plaintiff

Jessica Edison was made to suffer injuries, as follows:

a) Extreme stress and anxiety requiring medical treatment;

b) Loss of consortium with her husband Plaintiff Nicholas Edison.

WHEREFORE, Plaintiffs seek judgment against Defendant Home Depot and Defendant

John Doe on Count II of their Petition, for their costs, and for such further relief as the Court

deems just and necessary under the facts and circumstance of this cause.

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Case: 4:21-cv-01485-SEP Doc.#: 4 Filed: 12/20/21 Page: 8 of 8 PagelD #: 28

By:

Respectfully Submitted,

LAW OFFICES OF RICK BARRY, P.C.

/s/ Megen I. Hoffman
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